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EXHIBIT 14
Westlaw,

Not Reported in N.W.2d, 2003 WL 1558207 (Mich.App.)

(Cite as: 2003 WL 1558207 (Mich.App.))

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UNPUBLISHED OPINION. CHECK COURT
RULES BEFORE CITING.

Court of Appeals of Michigan.
Roland J. JERSEVIC, Plaintiff-Appellant,
¥.

Carol KUHL, Defendant-Appellec.

No. 238808.
March 25, 2003.

Before: DONOFRIO, P.J., and SAAD and OWENS
J. :

{UNPUBLISHED]
PER CURIAM.
*] Plaintiff appeals as of right the trial court's
order granting defendant's motion for summary dis-
position pursuant to MCR 2.116(C)(8). We reverse.

Generally, we review de nove a trial court's
ruling on a motion for summary disposition. Beau-
drie v. Henderson, 465 Mich. 124, 129; 631 NW2d
308 (2001). The Beaudrie Court added:

A motion for summary disposition brought under
MCR 2.116(C)(8) tests the legal sufficiency of
the complaint on the basis of the pleadings alone.
The purpose of such a motion is to determine
whether the plaintiff has stated a claim upon
which relief can be granted. The motion should
be granted if no factual development could pos-
sibly justify recovery. [/d. at 129-130.]

“All well-pleaded facts are accepted as true and
are construed in the light most favorable to the non-
moving party.” Madejski v. Kotmar Ltd, 246
Mich.App 441, 444; 633 NW2d 429 (2001).

Plaintiff contends that the trial court erred in
summarily dismissing his cause of action for extor-

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tion, blackmail, and threats. We agree.

We agree with plaintiff's contention that
Michigan law recognizes the cause of action.
Our Supreme Court has indicated that a party may
recover money that was extorted. Marlatte v.
Weickgenant, 147 Mich. 266, 275; 110 NW 1061
(1907). Moreover, the Marlatte Court suggested
that, where there are aggravating circumstances, a
party may also recover damages in excess of the
money extorted. fd. Thus, we believe that our Su-
preme Court has indicated that Michigan law recog-
nizes a cause of action for extortion. In addition,
our Supreme Court has also opined that “unlawful
and malicious threats may by reason of their inten-
ded results become actionable.” Edwards vy.
Grisham, 339 Mich. 531, 535, 64 NW2d 715
(1954). The Edwards Court explained that a party
may recover where the “thing threatened” is unlaw-
ful and “the making of a threat” is also unlawful.
Id. at 534. Accordingly, threats are also actionable.
In light of these decisions, the trial court erred as a
matter of law in concluding that Michigan law does
not recognize this cause of action.

FNI. We reject defendant's contention that
plaintiff forfeited appellate review of this
issue through his statements below, The re-
cord plainly reveals that plaintiff urged the
trial court to reconsider its earlier rulings.
His comments merely recognized that his
request for reconsideration was not likely
to succeed.

We.also agree with plaintiff's contention that
he properly pleaded a cause of action. Here,
plaintiff alleged that defendant assisted in preparing
documents used to threaten plaintiff, supplied
equipment used in the scheme, and helped conceal
plaintiffs property. Plaintiff also alleged that de-
fendant threatened him. Because extortion is illegal,
M.C.L. § 750.213, it follows that the threats were
unlawful. See Edwards, supra at 534-535,
Moreover, plaintiff's pleadings alleged facts that a

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trier of fact could find rose to a level of aggravating
circumstances. Marlatte, supra at 275, Accord-
ingly, plaintiff properly pleaded a cause of action
for extortion or threats. fd; Edwards, supra at
534-535. Consequently, the trial court erred as a
matter of law in dismissing this cause of action.
Beaudrie, supra at }29-130.

*2 Next, plaintiff contends that the trial court
erred in dismissing his cause of action for invasion
of privacy based on the disclosure of embarrassing
private matters. Again, we agree.

In Porter v. Royal Oak, 214 Mich.App 478,
489- 542 NW2d 905 (1995), quoting Duran v. De-
troit News, 200 Mich, App 622, 631, 504 NW2d 715
(1993), we explained the elements of this tort:

A cause of action for public disclosure of private
facts requires the disclosure of information that
would be highly offensive to a reasonable person
and of no legitimate concern to the public, and
the information disclosed must be of a private
nature that excludes matters already of public re-
cord or otherwise open to the public eye.

Here, the trial court found it beyond dispute
that there was a public disclosure of the content of
plaintiff's videotapes. The trial court further found
that it was beyond dispute that the videotapes de-
picted private matters and that the dissemination to
the public would be highly offensive to a reason-
able person, However, the trial court ruled that the
subject matter of the tapes was of legitimate public
concern, Alternatively, the trial court ruled that the
tapes were part of the criminal prosecution and,
therefore, “already of public record.” See Porter,
supra at 489,

On appeal, plaintiff contends that the subject
matter of the tapes was not of legitimate public
concern because the tapes involved purely private
“intimate” matters, not matters related ta his public
office or matters involving public property. In Doe
v, Mills, 212 Mich.App 73, 84; 536 NW2d 824
(1995), we noted that whether an individual has an

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abortion is a private matter because it “concerns
matters of sexual relations and medical treatment,
both of which are regarded as private matters.”
“Sexual relations, for example, are normally en-
tirely private matters.” Jd. at 82, quoting 3 Restate.
ment Torts, 2d, § 652D, comment b, p 386. ~
Thus, there is ample support for plaintiffs claim
that his status as a public official did not necessar-
ily elevate his sexual relations into a matter of legit-
imate public interest. There is no evidence that
plaintiff used or misused his office or in any way
made his private sexual matters a matter of public
concern. Therefore, at the very least, we conclude
that plaintiff has pleaded a prima facie case of inva-
sion of privacy, as necessary to preclude summary
disposition pursuant to MCR 2.116(C)(8). See

- Doe, supra at 85,

FN2. As an example, we noted: “There
may be some intimate details of a motion
picture actress’ life, such as sexual rela-
tions, which even the actress is entitled to
keep to herself.” Doe, supra at 82, quoting
3 Restatement Torts, 2d, § 652D, comment
h, p 391.

FN3. We also disagree with the trial court
ruling that the videotapes were already part
of the public record because of the crimin-
al prosecution. This exception is factually
inapplicable where, as here, the defendant's
actions allegedly caused the tapes to be-
come part of the crimina! prosecution, and,
therefore, the public record.

Next, plaintiff contends that the trial court
erred in dismissing his cause of action for conver-
sion by aiding in the concealment of stolen prop-
erty. The common law tort of conversion is “ ‘any
distinct act of domain wrongfully exerted over an-
other's personal property in denial of or inconsistent
with the rights therein.” ° Head v Phillips Camper
sales & Rental, Inc, 234 Mich.App 94, 1il; 593
NW2d 595 (1999), quoting Foremost Ins Co v. All-
state Ins Co, 439 Mich, 378, 391; 486 NW2d 600
(1992). “Statutory conversion, by contrast, consists °

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of knowingly ‘buying, receiving, or aidmg in the
concealment of any stolen, embezzled, or converted
property.” MCL 600.2919a.” Head, supra at 111.
Here, plaintiff alleged that defendant knowingly
concealed, or at least helped conceal, his property
after it was stolen. Accordingly, plaintiff's com-
plaint stated a claim upon which relief could be
granted. id,

*3 We note that the trial court's dismissal of
this cause of action was premised on plaintiff's fail-
ure to separate these allegations into a separate
count. Our Supreme Court has noted that a
“complaint must provide reasonable notice to op-
posing parties.” Dacon v. Transue, 441 Mich. 315,
329: 490 NW2d 369 (1992). MCR 2.111(B)Q)
states that a complaint must contain “the specific
allegations necessary reasonably to inform the ad-
verse party of the nature of the claims the adverse
party is called on to defend....” The Dacon Court
explained:

This rule is designed to avoid two opposite, but
equivalent, evils. At one extreme lies the straight-
jacket of ancient forms of action. Courts would
summarily dismiss suits when plaintiffs could not
fit the facts into these abstract conceptual pack-
ages. At the other extreme lies ambiguous and
uninformative pleading. Leaving a defendant to
guess upon what grounds plaintiff believes recov-
ery is justified violates basic notions of fair play
and substantial justice. Extreme formalism and
extreme ambiguity interfere equivalently with the
ability of the judicial system to resolve a dispute
on the’ merits. The former leads to dismissal of
potentially meritorious claims while the latter un-
dermines a defendant's opportunity to present a
defense. Neither is acceptable. [Dacon, supra at
329 (citations and footnote omitted).}

We review a trial court's decision regarding the
meaning and scope of pleadings for an abuse of dis-
cretion. Id. at 328.

FN4. “An abuse of discretion exists when
the result is so palpably and grossly violat-

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ive of fact and logic that it evidences per-
versity of will or the exercise of passion or
bias rather than the exercise of discretion.”
Churchman v. Rickerson, 240 Mich.App
223, 233; 611 NW2d 333 (2000).

Here, three paragraphs of the complaint alleged
that defendant, along with others, knowingly con-
cealed and converted plaintiffs property. To be

_ gure, the paragraphs were entirely within count 1.

However, this count was not titled “extortion.”
Therefore, we are not persuaded that defendant was
mislead, Further, in requesting treble damages,
plaintiffs complaint specifically referenced M.C.L.
§ 600,2919a, the statutory conversion statute. Ac-
cordingly, defendant cannot credibly contend that
she was not given reasonable notice that plaintiff
was pursuing damages for statutory conversion.
Consequently, we conclude that the trial court ab-
used its discretion in dismissing this cause of ac-
tion. Dacon, supra at 328; Churchman, supra
at 233.

FNS. In light of our decision, we need not
address plaintiff's contention that the trial
court erred in denying his request to file a
first amended complaint.

Reversed and remanded for further proceedings
consistent with this opinion, We do not retain juris-
diction.

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